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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO


TERRA PARTNERS; TERRA XXI, LTD.;
ROBERT WAYNE VEIGEL; ELLA MARIE
WILLIAMS VEIGEL; VEIGEL FARMS, INC.;
VEIGEL CATTLE COMPANY; and VEIGEL
FARM PARTNERS,

              Plaintiffs,

       vs.                                                 Civ. No. 16-1036 WPL/KK

AG ACCEPTANCE CORPORATION,

              Defendant.


                        ORDER DENYING MOTION TO COMPEL

       THIS MATTER is before the Court on Plaintiffs’ Motion to Compel Responses to

Plaintiffs’ First Request for Production, filed October 28, 2016. (Doc. 91.) The Court does not

require a response from Defendant.

       Plaintiffs served their First Requests for Production on Defendant on September 17,

2015. (Doc. 91 at 1, ¶ 1.) On October 16, 2015, Defendant served their responses. (Id. at ¶ 2.)

Plaintiffs argue that Defendant asserted a number of unfounded and unsupported objections in its

responses, and they now seek to compel discovery. (Id. at ¶ 7.) Pursuant to the Local Rules of

Civil Procedure for the United States District Court for the District of New Mexico, a party

served with objections to requests for production must seek relief pursuant to Fed. R. Civ. P.

37(a) within twenty-one (21) days of service of an objection, unless the response specifies that

documents will be produced or inspection allowed. In that case, the party must seek relief within

twenty-one days after production or inspection of the documents. D.N.M.LR-Civ. 26.6. Here,

Plaintiffs seeks to compel discovery one year and twelve days after it received Defendant’s
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objections and more than eight months after discovery terminated.1                        Plaintiffs’ Motion is

untimely. For this reason, the Court finds Plaintiffs’ Motion is not well taken and it is DENIED.

        IT IS SO ORDERED.



                                                     _____________________________________
                                                     KIRTAN KHALSA
                                                     United States Magistrate Judge




1
 On July 24, 2015, this matter was transferred to the United States District Court for the Northern District of Texas
Amarillo Division. (Doc. 23.) That court entered a Scheduling Order and set a discovery deadline of February 2,
2016, and a discovery motions deadline of February 29, 2016. (Doc. 26.) The case was transferred back to this
Court on September 16, 2016. (Doc. 81.)
